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                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR15-0120-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    NIEM DOAN,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion concerning a
18   briefing schedule (Dkt. No. 1280). Having thoroughly considered the motion and the relevant
19   record, the Court hereby ORDERS as follows:
20      1. The United States shall file a response to Mr. Doan’s motion for compassionate release
21          on or before November 16, 2020;
22      2. Any reply brief will be filed on or before November 20, 2020, and the matter noted for
23          that date.
24      3. The Clerk is DIRECTED to re-note Mr. Doan’s motion to reduce sentence (Dkt. No.
25          1273) to November 20, 2020.
26


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 1         DATED this 9th day of November 2020.

 2                                                William M. McCool
                                                  Clerk of Court
 3
                                                  s/Paula McNabb
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                                                  Deputy Clerk
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